            Case 1:24-cv-01070-RDM Document 11 Filed 05/17/24 Page 1 of 6




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 AMERICA FIRST LEGAL FOUNDATION,        )
                                        )              Case No. 1:24-cv-01070-RMD
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 INTERNAL REVENUE SERVICE and           )
 DEPARTMENT OF THE TREASURY,            )
                                        )
          Defendants.                   )
 _______________________________________)

                                            ANSWER

       Defendants, Internal Revenue Service (IRS) the Department of the Treasury (Treasury),

through the unsigned counsel, answers the Plaintiff’s complaint as follows:

       1.       Admits.

                                JURISDICTION AND VENUE

       2.       The allegations contained in paragraph two contain legal conclusions for which

no response is required. To the extent a response is required, the Defendants admit the first

sentence contained in paragraph two and denies the second sentence contained in paragraph two.

       3.       The allegation contained in paragraph three contains a legal conclusion for which

no response is required. To the extent a response is required, Defendants admit.

                                            PARTIES

       4.       Admits.

       5.       Admits.

       6.       Admits.

       7.       Defendants lack knowledge to admit or deny the allegations contained in the

complaint.



                                                 1
            Case 1:24-cv-01070-RDM Document 11 Filed 05/17/24 Page 2 of 6




       8.       Admits.

       9.       Admits.

       10.      Admits.

       11.      Admits.

       12.      Admits.

       13.      Admits.

       14.      Defendants admit the quoted language appears in the cited document but denies

the remaining allegations contained in the paragraph.

       15.      Admits.

       16.      Denies.

       17.      Admits.

       18.      Admits.

       19.      Admits.

       20.      Admits.

       21.      Admits.

       22.      Admits.

       23.      Admits.

       24.      Admits.

       25.      Admits.

       26.      Admits.

       27.      Defendants admit that the words in quote appear in the source cited in paragraph

twenty-seven and lack sufficient information or knowledge to admit or deny the remaining

allegations contained in the paragraph.




                                                2
         Case 1:24-cv-01070-RDM Document 11 Filed 05/17/24 Page 3 of 6




                                    AFL’S FOIA REQUEST

       28.     Admits that on or around February 21, 2023 AFL submitted a FOIA request to the

defendants but denies the remaining allegations. Defendants directs the Court’s attention to

Exhibit 1 of the Complaint as it is the FOIA request and describes the records Plaintiff seeks.

       29.     Admits.

       30.     Admits.

                                   Department of the Treasury

       31.     Treasury admits. The IRS lacks sufficient information or knowledge to admit or

deny the allegations contained in the paragraph.

       32.     Treasury admits. The IRS lacks sufficient information or knowledge to admit or

deny the allegations contained in the paragraph.

                                               IRS

       33.     IRS admits. Treasury lacks sufficient information or knowledge to admit or deny

the allegations contained in the paragraph.

       34.     IRS admits. Treasury lacks sufficient information or knowledge to admit or deny

the allegations contained in the paragraph.

       35.     IRS admits. Treasury lacks sufficient information or knowledge to admit or deny

the allegations contained in the paragraph.

       36.     IRS admits. Treasury lacks sufficient information or knowledge to admit or deny

the allegations contained in the paragraph.

       37.     IRS admits. Treasury lacks sufficient information or knowledge to admit or deny

the allegations contained in the paragraph.




                                                   3
         Case 1:24-cv-01070-RDM Document 11 Filed 05/17/24 Page 4 of 6




       38.     IRS admits. Treasury lacks sufficient information or knowledge to admit or deny

the allegations contained in the paragraph.

                                     CLAIM FOR RELIEF

                             Violation of the FOIA, 5 U.S.C. § 552

       39.     Defendants repeat paragraphs 1-38.

       40.     The allegations contained in paragraph forty contain a legal conclusion for which

no response is required. To the extent that a response is required, the Defendants deny.

       41.     Denies.

       42.     Denies.

       43.     The allegation contained in paragraph forty-three contains a legal conclusion for

which no response is required. To the extent that a response is required, Defendants admit.

       44.     The allegation contained in paragraph forty-four contains a legal conclusion for

which no response is required. To the extent that a response is required, Defendants admit.

       45.     Denies.

                                        FIRST DEFENSE

       Plaintiff is not entitled to relief beyond what the FOIA and decisional law permit; records

or portions of records are protected from disclosure by one or more exemptions or exclusions to

the FOIA.

                                      SECOND DEFENSE

       Plaintiff has failed to describe the requested records with sufficient particularity as required

by the FOIA.

                                        THIRD DEFENSE

       Plaintiff’s FOIA request is overly broad and unduly burdensome.



                                                  4
         Case 1:24-cv-01070-RDM Document 11 Filed 05/17/24 Page 5 of 6




                                      FOURTH DEFENSE

       Plaintiff may not be eligible for attorney’s fees or costs; is not entitled to attorneys’ fees

or cost in accordance with 5 U.S.C. § 552(a)(4)(A)(iii).

                                        FIFTH DEFENSE

       The Court lacks subject matter jurisdiction over any requested relief that exceeds the

relief authorized by the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.


Date: May 17, 2024                                     /s/ Stephanie Sasarak
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                                                  5
         Case 1:24-cv-01070-RDM Document 11 Filed 05/17/24 Page 6 of 6




                               CERTIFICATE OF SERVICE

       I certify that on May 17, 2024, I filed the foregoing document with the Clerk of Court

using the CM/ECF system, which will serve counsel for the plaintiff.



                                                    /s/ Stephanie Sasarak
                                                    STEPHANIE SASARAK
                                                    Trial Attorney, Tax Division
                                                    U.S. Department of Justice




                                               6
